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                         UNITED STATES DISTRICT COURT
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            CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION
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14   FEIDI SUPPLY CHAIN MANAGEMENT Case No. 2:21-cv-01593-SVW (RAOx)
15   CORP., a California corporation,
                                      Hon. Stephen V. Wilson, Courtroom 10A
16        Plaintiff,
17                                    ORDER OF DISMISSAL OF CASE
                 v.                   WITH PREJUDICE
18

19   JOCO SALES AND MARKETING, INC. a Action filed: February 20, 2021
     Kansas corporation, erroneously sued as
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     JOCO SALES AND MARKETING, LLC;
21   and DOES 1-10,
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          Defendants.
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25   AND RELATED COUNTERCLAIMS
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               [PROPOSED] ORDER OF DISMISSAL OF CASE WITH PREJUDICE
Case 2:21-cv-01593-SVW-RAO Document 32 Filed 12/01/21 Page 2 of 2 Page ID #:299



 1
           Pursuant to the parties’ Joint Stipulation Requesting Dismissal With Prejudice of
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     the Case, and GOOD CAUSE being shown therefore, the Court hereby APPROVES the
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     Stipulation and ORDERS as follows:
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           1.     The above-captioned action, including all claims, counterclaims and third-
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     party claims stated herein against all parties to the action, is hereby dismissed WITH
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     PREJUDICE in its entirety, with each party to bear its own attorneys’ fees and costs
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     incurred in the action.
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           2.     This Court expressly retains jurisdiction over the parties and the action to
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     enforce Feidi Supply Chain Management Corp and Joco Sales and Marketing, Inc.’s
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     November 19, 2021 Settlement Agreement. The Court finds that this retention of
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     jurisdiction is a necessary and proper term pursuant to Federal Rule of Civil Procedure
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     41(a)(2).
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           IT IS HEREBY FURTHER ORDERED AS FOLLOWS:
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18         Dated: December 1, 2021          ________________________
19                                          Hon. Stephen V. Wilson
                                            United States District Judge
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                  [PROPOSED] ORDER OF DISMISSAL OF CASE WITH PREJUDICE
